Case 96-54979 Doc 1241-4 Filed 11/08/07 Page SiQfedeas caw sams wortowine

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Re: Bankruptcy Estate of G. Ware Travelstead; Case No. 96-54979

Dear Ann:

As you may recall, this firm represents Storage USA, now known as Extra Space
Storage, in regard to the above-referenced case. As you are aware, you and your firm
have been responsible for paying storage fees owed to Storage USA/Extra Storage for
storage unit numbers 16, 59 and 352. I am told by my client, however, that your firm has
paid none of the invoices after June 2006. The amounts owing on each of the units is as
follows:

#16 #59 #352
July 2006 478.00 358.00 309.00
August 2006 478.00 358.00 309.00
September 2006 478.00 358.00 309.00
October 2006 478.00 358.00 309.00
November 2006 478.00 358.00 309.00
December 2006 478.00 358.00 309.00
January 2007 517.00 376.00 325.00
February 2007 517.00 376.00 325.00
March 2007 517.00 376.00 325.00

$4,458.00 $3,294.00 $2,845.00

I am not sure why these payments have not been made to Storage USA/Extra
Space Storage but I am hopeful that you will correct the situation immediately. When I
brought to your attention earlier defaults in 2006, you made sure that the defaults were
cured immediately and all monies paid to Storage USA/Extra Space Storage. Please
contact me if there are any questions concerning this matter. Otherwise, please send the
check to my office so that we can forward it on to our client.

Very truly yours,

Af VipH ae D L ile

Mary Fran Ebersole

cc: Dee Ann Keller

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